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1
     UNITED STATES DISTRICT COURT
2
     DISTRICT OF NEVADA – NORTHERN DIVISION
3

4    DREW J. RIBAR,
     Plaintiff, Pro Se,
5    v.
     WASHOE COUNTY, et al.,
6    Defendants.
7
     Case No. 3:24-cv-00526-ART-CSD
8

9

10   PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE REPLY IN
     SUPPORT OF MOTION FOR LEAVE TO FILE FIRST AMENDED
11
     COMPLAINT
12
     AND REQUEST FOR EXPEDITED CONSIDERATION
13

14
     Plaintiff Drew J. Ribar, appearing in propria persona, hereby respectfully moves under Federal
15
     Rule of Civil Procedure 6(b)(1)(A) for a 14-day extension of time—from April 9, 2025, to
16

17   April 23, 2025—to file his reply to Defendant Build Our Center’s Opposition [ECF No. 74] to

18   Plaintiff’s Motion for Leave to File First Amended Complaint [ECF No. 65]. Plaintiff further
19   requests expedited consideration of this Motion given the imminent reply deadline.
20

21

22

23   I. GOOD CAUSE EXISTS
24

25   On March 19, 2025, Plaintiff was involved in a motor vehicle accident in which he was rear-

26   ended by a commercial semi-truck operated by J.B. Hunt. On March 20, 2025, he sought
27

28
     PLEADING TITLE - 1
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1    emergency medical care and was diagnosed with injuries including whiplash and persistent left
2
     shoulder pain. (See Exhibit A – Emergency Room Records.)
3

4    Plaintiff is currently under the care of Dr. Vinson Christenson, who has referred him for
5
     diagnostic imaging, including X-rays scheduled for April 16, 2025, at Reno Diagnostic Centers.
6
     (See Exhibit B – Referral Documentation.)
7

8
     As a result of these injuries, Plaintiff experiences severe pain while seated and is significantly
9
     impaired in his ability to perform tasks essential to litigation, including reading, researching, and
10
     preparing court filings. Without an extension, Plaintiff will be unable to adequately prepare his
11

12   reply by the current deadline of April 9, 2025 as calculated under Local Rule 7-2(b).

13

14

15
     II. REQUEST FOR EXPEDITED CONSIDERATION
16

17
     In light of the rapidly approaching deadline, Plaintiff respectfully requests the Court rule on this
18
     Motion by or before April 9, 2025, or in the alternative, grant a temporary extension pending the
19

20   Court’s ruling.

21

22

23
     III. NO PREJUDICE TO DEFENDANTS
24

25
     This short extension will not prejudice Defendants. The case remains in the pretrial phase, and
26
     no discovery or dispositive deadlines will be impacted. The requested relief is made in good faith
27

28   and not for purposes of delay.
     PLEADING TITLE - 2
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3    IV. CONCLUSION
4

5    For the foregoing reasons, Plaintiff respectfully requests that the Court:

6
        1. Extend the reply deadline from April 9, 2025, to April 23, 2025;
7

8       2. Grant expedited consideration or enter a temporary order pending decision; and

9       3. Grant such further relief as the Court deems just and appropriate.
10

11   DATED: April 8, 2025

12   Respectfully submitted,
13
     /s/ Drew J. Ribar
14
     Drew J. Ribar
15
     3480 Pershing Lane
16

17   Washoe Valley, NV 89704

18   const2audit@gmail.com
19
     (775) 223-7899
20

21

22

23   CERTIFICATE OF SERVICE
24

25
     I certify that on April 8, 2025, I caused a true and correct copy of the foregoing Motion for
26
     Extension of Time, including all supporting exhibits, to be served by the methods listed below
27
     pursuant to FRCP 5(b)(2) and Local Rule 5-1:
28
     PLEADING TITLE - 3
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1    Via Email and U.S. Mail:
2

3    Counsel for Washoe County Defendants
4
     Lindsay L. Liddell, Esq.
5
     Andrew Cobi Burnett, Esq.
6
     Office of the Washoe County District Attorney
7

8    One South Sierra Street

9    Reno, NV 89501
10
     Email: lliddell@da.washoecounty.gov
11
     Email: cburnett@da.washoecounty.gov
12

13
     Counsel for Build Our Center, Inc.
14
     Jerry C. Carter, Esq.
15
     Alison R. Kertis, Esq.
16

17   Sierra Crest Business Law Group

18   6770 S. McCarran Blvd.
19
     Reno, NV 89509
20
     Email: jcarter@sierracrestlaw.com
21
     Email: akertis@sierracrestlaw.com
22

23
     Executed on April 8, 2025.
24
     /s/ Drew J. Ribar
25

26   Drew J. Ribar

27

28
     PLEADING TITLE - 4
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1
     DECLARATION OF DREW J. RIBAR IN SUPPORT OF
2

3    MOTION FOR EXTENSION OF TIME
4

5
     I, Drew J. Ribar, declare as follows:
6

7       1. I am the Plaintiff in this action, proceeding pro se.
8
        2. On March 19, 2025, I was rear-ended by a semi-truck. The following day I went to the
9
            emergency room and was diagnosed with injuries that make sitting for long periods,
10
            reading legal materials, and preparing legal filings difficult.
11

12      3. I am under ongoing medical care, including a scheduled imaging appointment on April

13          16, 2025.
14
        4. Due to this, I am unable to timely complete my reply brief currently due April 9, 2025,
15
            and respectfully request an extension of 14 days.
16
        5. I have not conferred with opposing counsel due to the time-sensitive nature of this filing,
17

18          but I make this request in good faith and not for the purpose of delay.

19
     I declare under penalty of perjury that the foregoing is true and correct.
20

21
     Executed on April 8, 2025.
22
     /s/ Drew J. Ribar
23

24   Drew J. Ribar

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     PLEADING TITLE - 5
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1
     [PROPOSED] ORDER
2
     UNITED STATES DISTRICT COURT
3

4    DISTRICT OF NEVADA – NORTHERN DIVISION

5    DREW J. RIBAR,
     Plaintiff,
6
     v.
7    WASHOE COUNTY, et al.,
     Defendants.
8
     Case No. 3:24-cv-00526-ART-CSD
9

10

11   ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION OF TIME
12
     Having considered Plaintiff’s Motion for Extension of Time to File Reply and good cause
13   appearing:
14   IT IS HEREBY ORDERED that:
15
     Plaintiff’s Motion is GRANTED.
16   Plaintiff shall have until April 23, 2025, to file his reply to Defendant Build Our Center’s
     Opposition [ECF No. 74].
17

18   DATED: ________________

19

20
     UNITED STATES DISTRICT JUDGE
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     PLEADING TITLE - 6
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1    EXHIBIT A
2
     Emergency Room Records
3
     Date of Visit: March 20, 2025
4    Facility: Carson Tahoe Health – Emergency Department
5
     Purpose: Medical documentation of injuries sustained in motor vehicle accident on March 19,
     2025, including diagnosis of musculoskeletal pain, whiplash, and restricted mobility.
6
     Submitted in support of:
7    Plaintiff’s Motion for Extension of Time to File Reply
8
     Case No. 3:24-cv-00526-ART-CSD
     U.S. District Court, District of Nevada
9
     Submitted by:
10   Drew J. Ribar
11   Plaintiff, Pro Se

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1    EXHIBIT B
2
     Medical Referral for X-rays
3
     Referring Physician: Dr. Vinson Christenson
4    Referral Date: March–April 2025
5
     Facility: Reno Diagnostic Centers
     Purpose: Referral for X-rays and additional imaging for injuries sustained in March 19, 2025
6    vehicle collision.
7    Submitted in support of:
8
     Plaintiff’s Motion for Extension of Time to File Reply
     Case No. 3:24-cv-00526-ART-CSD
9    U.S. District Court, District of Nevada
10   Submitted by:
11   Drew J. Ribar
     Plaintiff, Pro Se
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     PLEADING TITLE - 1
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